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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                             ORLANDO DIVISION

    NUVASIVE, INC.,                        )
                                           )
                Plaintiff,                 )
                                           )
    v.                                     )   Civil Case No. 6:17-cv-2206-Orl-41GJK
                                           )
    ABSOLUTE MEDICAL, LLC, ABSOLUTE )
    MEDICAL SYSTEMS, LLC, GREG             )   INJUNCTIVE RELIEF SOUGHT
    SOUFLERIS, DAVE HAWLEY, and RYAN )
    MILLER,                                )
                                           )
                Defendants,                )
    ______________________________________ )

          NUVASIVE, INC.’S MOTION FOR PARTIAL SUMMARY JUDGMENT
                 AGAINST DAVE HAWLEY AND RYAN MILLER
                  AND SUPPORTING MEMORANDUM OF LAW
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            Pursuant to Federal Rule of Civil Procedure 56, Plaintiff NuVasive, Inc.

    (“NuVasive”), submits that the undisputed facts establish that Defendants Dave Hawley

    (“Hawley”) and Ryan Miller (“Miller”) violated the reasonable restrictive covenants they

    owed to NuVasive by, without limitation, selling competitive products to the same surgeons

    and hospitals to whom they previously sold NuVasive’s products, and that:

                their violations harmed NuVasive; and

                they unjustly benefited from those violations.

    Accordingly, NuVasive respectfully requests that the Court grant this motion for partial

    summary judgment, toll the expiration of Hawley’s and Miller’s restrictive covenants, and

    hold a hearing to determine the damages NuVasive is entitled to recover from Hawley and

    Miller.1

                                               INTRODUCTION

            Defendants claim that Hawley and Miller are not subject to non-competition and/or

    non-solicitation obligations because Defendant Absolute Medical, LLC (“Absolute

    Medical”) failed to comply with its contractual obligation (to NuVasive) to require them to

    sign Compliance Agreements in calendar year 2017. While NuVasive believes that Hawley

    and Miller did sign Compliance Agreements in 2017, it recognizes that this fact is in

    dispute.2 What is not in dispute, however, is that Hawley and Miller signed Compliance


    1
     This motion only addresses Hawley’s and Miller’s undisputed violations of the restrictive covenants within the
    contracts they signed in calendar year 2016. NuVasive still seeks relief against Hawley and Miller related to
    violations of their calendar year 2017 contracts, but those issues are not ripe for summary judgment.
    2
      NuVasive anticipates addressing this issue in a motion which addresses Defendants’ spoliation of relevant
    evidence as Defendant Greg Soufleris acknowledges that he willfully failed to maintain the email platform that
    contained messages relevant to the 2017 Compliance Agreements. (Dep. G. Soufleris, attached as Exhibit 1,
    41:17–24, 211:4–18).



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    Agreements in 2016 (the “2016 Compliance Agreements”) which contain restrictive

    covenants that prohibited them from converting the business of their NuVasive surgeon-

    customers in December 2017, and that they failed to comply with those restrictions. (Order,

    Doc. 150, p. 9–11). Indeed, Hawley and Miller admit that:

              they signed Compliance Agreements in 2013, 2014, 2015, and 2016 which
               contain one year non-circumvention, non-competition, and non-solicitation
               obligations;

              the 2016 Compliance Agreements name NuVasive as a third-party beneficiary
               and contain restrictive covenants that place reasonable limitations on their
               competitive activities until December 31, 2017;

              they first violated the 2016 Compliance Agreements’ restrictive covenants by
               competing with NuVasive in their sales territories in December 2017; and

              since these first violations, they have consistently competed with NuVasive for
               their NuVasive surgeon-customers’ business.

    These admissions prove that Hawley and Miller violated the 2016 Compliance Agreements’

    restrictive covenants, that the Court should toll the expiration of the 2016 Compliance

    Agreements until they provide NuVasive with what it is contractually entitled to receive (a

    full year of not competing with them for their NuVasive surgeon-customers), and award

    NuVasive the damages it incurred as result of their contractual violations.

                             STATEMENT OF MATERIAL FACTS

           NuVasive and Absolute Medical entered into a Sales Representative Agreement on

    January 1, 2017 (“2017 Sales Agreement”). (Dep. J. English, attached as Exhibit 2, 14:21–

    15:5, 44:18–45:25, Ex. 2 at Ex. 1). Like the previous Sales Representative Agreements

    between the parties, dated February 14, 2013, and January 1, 2014, respectively, Section 5 of

    the 2017 Sales Agreement required Absolute Medical to represent and warrant that it




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    subjected its sales force to Compliance Agreements which contain reasonable non-

    competition provisions. (Id. at 46:7–48:25, Ex. 2 at Ex. 1 § 5.09(e)).

           In a November 30, 2017 email, Absolute Medical’s sole member, Defendant Gregory

    Soufleris (“Soufleris”), informed NuVasive that Absolute Medical would no longer perform

    the obligations imposed on it by the 2017 Sales Agreement. (Exhibit 1, 82:23–83:12, Ex.

    18).   Then, the Defendants claimed that Soufleris, Hawley, and Miller never signed

    Compliance Agreements and were not subject to any restrictive covenants.               More

    specifically, on May 11, 2018, Absolute Medical responded to NuVasive’s first requests for

    production by stating that it possessed “no contracts or other agreements with” Hawley,

    Miller, and others, and, under penalty of perjury, failed to confirm that Hawley and Miller

    were ever subject to non-competition restrictions in its response to Interrogatory 1. (Absol.

    Med. Resp. Req. Produc., attached as Exhibit 3, ¶ 1; Absol. Med. Resp. Interr., attached as

    Exhibit 4, ¶ 1). Similarly, on May 22, 2018, Hawley falsely responded to NuVasive’s

    Interrogatory 10, which asked him to identify “every contract [he] signed that contained non-

    competition or non-solicitation provisions” by stating that he “did not sign a non-compete

    agreement with [NuVasive] or with Absolute Medical, LLC;” and then reinforced this

    misstatement in his responses to NuVasive’s Request for Production 1 (“Defendant is not

    subject to a non-compete agreement with Absolute Medical, LLC or NuVasive”), Request for

    Production 2 (claiming to possess no agreements between himself and Absolute Medical),

    and Request for Production 10 (“Defendant is not subject to a non-compete agreement with

    either NuVasive or Absolute Medical, LLC.”). (Hawley Resp. Interr., attached as Exhibit 5,

    ¶ 10; Hawley Resp. Req. Produc., attached as Exhibit 6, ¶¶ 1–2, 10).




                                                    3
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              Kirk Tyree’s May 23, 2018 declaration debunked Defendants’ claim that Hawley and

    Miller never signed Compliance Agreements by attaching signed 2013 Compliance

    Agreements he discovered on May 21, 2018. (Decl. K. Tyree, Doc. 60-7, ¶¶ 4–5, Exs. B–D).

    Then, on June 27, 2018—one day before the Court conducted a hearing on NuVasive’s

    request for a preliminary injunction—Absolute Medical and Hawley amended their discovery

    responses and produced their 2013, 2014, 2015, and 2016 Compliance Agreements3 and

    changed their claim that Hawley and Miller never signed Compliance Agreements to Hawley

    and Miller (as well as the other Absolute Medical sales representatives) signed Compliance

    Agreements every year they worked for Absolute Medical except for 2017. (Email from

    Emmanuel, attached as Exhibit 7). Indeed, Absolute Medical amended its response to

    Interrogatory 1 by stating that “no employees and/or independent contractors since January 1,

    2017, were subject to a non-compete agreement with Absolute Medical.” (Absol. Med.

    Amend. Resp. Interr., attached as Exhibit 8, ¶ 1).4 However, (like the original response) this

    amended response is demonstrably false as Absolute Medical entered into 2017 Compliance

    Agreements with Thad Bragulla and Brennan Burkhart, two Absolute Medical sales

    representative whom Soufleris did not want to join him at Alphatec Spine, Inc. (“Alphatec”),

    as well as with Christopher Shultz, a former sales representative who now works for Integrity

    Implants. (Decl. T. Bragulla, Doc. 19-3, ¶ 3; 2d Decl. T. Bragulla, Doc. 60-10, ¶ 5, Ex. A;

    Exhibit 1, 8:16–14:17, 34:16–21, 35:12–18; 37:10–13).



    3
        Hawley produced his Compliance Agreements and Absolute Medical produced Miller’s.
    4
      It is curious, at best, that Defendants only amended their sworn discovery responses after NuVasive
    conclusively demonstrated their falsity.




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        A. Hawley and Miller signed contracts which precluded them from competing with
           NuVasive until (at the earliest) January 1, 2018.

            Hawley’s and Miller’s 2013 Compliance Agreements (the “2013 Compliance

    Agreements”) became effective on February 13, 2013. (2013 Compliance Agreements,

    attached as collective Exhibit 9).5 Among other things, they precluded Hawley and Miller

    from competing with Absolute Medical and/or NuVasive6 in their assigned sales territories or

    in other locations where they provided services to those entities during the term of the

    Compliance Agreements and for one year after they terminate.7 (Id. at § 12). Both Hawley

    and Miller signed their 2013 Compliance Agreements “Individually and on behalf of

    Independent Contractor” and, in Section 25 of their 2013 Compliance Agreements, agreed

    that they, along with their single-member LLCs were bound by the 2013 Compliance

    Agreements. (Id. at § 25, signature page).

            The form of the Compliance Agreements signed by Hawley and Miller changed with

    the 2014 Compliance Agreements (the “2014 Compliance Agreements”), then remained

    substantially identical in 2015 (the “2015 Compliance Agreements”), and 2016.                          (2014

    Compliance Agreements, attached as collective Exhibit 10; 2015 Compliance Agreements,

    attached as collective Exhibit 11; 2016 Compliance Agreements, attached as collective


    5
     The 2013 Compliance Agreements are an exemplar copy with Hawley’s and Miller’s signature pages. Hawley
    and Miller both testified they signed these 2013 Compliance Agreements. (June 28, 2018, Tr. Hr’g Prelim. Inj.,
    Doc. 79, 78:2-4, 98:8-17)
    6
      NuVasive is a “Manufacturer” or “Agent Manufacturer” as defined by the 2013 Compliance Agreements.
    Indeed, the first “Witnesseth Paragraph” defines “Manufacturer” as “one or more manufacturers who supply the
    Products to Agent.” (Exhibit 9, p. 1).
    7
      The 2013 Compliance Agreements did not include fixed terms. They could be terminated by either party with
    fifteen days written notice or pursuant to the events described in Section 9. (Exhibit 9, § 9). There is no
    evidence in the record that any of these events took place.




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     Exhibit 12; Dep. R. Miller, attached as Exhibit 13, 52:12–55:14).8 Similar to the 2013

     Compliance Agreements, the 2014, 2015, and 2016 Compliance Agreements bind Hawley

     and Miller individually, as well as their single-member limited liability companies by stating:

             4.1 Conduct. If Salesperson is not an individual but is an entity such as a
             corporation or limited-liability company, Salesperson shall cause its principal
             in the introductory paragraph of this Agreement to provide all services on
             behalf of Salesperson; and all duties, responsibilities and obligations of
             Salesperson shall apply with equal force to such person designated the same
             as if such person were, in fact, the Salesperson and the Salesperson and such
             principal shall be jointly and severally liable therefor. Whenever the term
             “Salesperson” is used in this Agreement, it shall mean both the Salesperson
             and the Principal collectively, jointly and severally . . .

     (Exhibit 10, § 4.1; Exhibit 11, § 4.1; Exhibit 12, § 4.1).

              Hawley’s and Miller’s 2016 Compliance Agreements became effective on January 1,

     2016. (Exhibit 12). Like the 2014 and 2015 Compliance Agreements, the 2016 Compliance

     Agreements are governed by Florida law (Section 8.8) and are for one-year terms which,

     “[U]pon thirty (30) days written notice to [Miller and/or Hawley] prior to the expiration of

     the then current Term, [Absolute Medical] shall have the option to renew the Agreement for

     successive one (1) year terms with each such renewal constituting an additional year in the

     Term.” (Exhibit 10, § 3.1; Exhibit 11, § 3.1; Exhibit 12, § 3.1).

             The 2016 Compliance Agreements did not terminate prior to December 31, 2016.

     (Order, Doc. 150, p. 10). While Hawley, Miller, and Absolute Medical deny that Absolute

     Medical exercised its option to renew the Compliance Agreements for calendar year 2017,

     they admit that Hawley and Miller continued in their roles as Absolute Medical’s sales


     8
       The copy of Hawley’s 2014 Compliance Agreement he produced is not executed, but he testified that he
     signed Compliance Agreements in 2014, 2015, and 2016. (June 28, 2018, Tr. Hr’g Prelim. Inj., Doc. 79, 78:2-
     7).




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     representatives until quitting without notice in late November 2017. (Dep. D. Hawley,

     attached as Exhibit 14, 50:3–24; Exhibit 13, 39:24–40:4; 43:23–44:3; 56:24–57:1).9

             Section 4.8 of the 2016 Compliance Agreements obligates Hawley and Miller to

     attend any special training provided by NuVasive. (Exhibit 12, § 4.8). Section 5.1 contains

     their acknowledgements that Absolute Medical received (and will continue to receive)

     NuVasive’s and its customers’ confidential information (as defined by Section 5.2 of the

     2016 Compliance Agreements) and that they will maintain the confidentiality of that

     information. (Id. at § 5.1). To, in part, protect this confidential information and the goodwill

     that Absolute Medical and NuVasive developed with their customers, Sections 5.4 through

     5.6 of the 2016 Compliance Agreements impose certain restrictive covenants on Hawley and

     Miller that last through their 2016 Compliance Agreements’ terms and for one year after the

     terms expire (i.e., through December 31, 2017). (Id. at §§ 5.4–5.6). The first restrictive

     covenant, titled “Non-Circumvention,” prohibits them from, without limitation, interfering

     with Absolute Medical’s relationships with NuVasive, its employees, independent

     salespersons, and customers. (Id. at § 5.4). The second, titled “Non-Competition,” precludes

     them from selling “Competitive Products”10 within their assigned sales territories or to other

     accounts they serviced on behalf of Absolute Medical.                   (Id. at § 5.5).      And the final

     9
       Though they claim they did not sign the 2017 Compliance Agreements, Hawley and Miller agree that they and
     Absolute Medical complied with all of the 2017 Compliance Agreements’ terms and conditions, such as
     territory, commission structure and quota. (Exhibit 14, 49:7–50:2; Exhibit 13, 58:11–62:22).
     10
         Section 5.5 of the Compliance Agreements defines “Competitive Products” as “any goods, products or
     product lines that are directly or indirectly competitive with the Medical Products sold by [Absolute Medical],
     including without limitation NuVasive Products. For purposes of this Section, “NuVasive Products” means any
     goods, products, product lines or services marketed, promoted or sold by NuVasive, whether directly or
     indirectly, (i) that [Absolute Medical] marketed, promoted, sold, or solicited sales of on behalf of NuVasive
     during the Term, or (ii) with respect to which [Hawley/Miller] at any time received or otherwise obtained or
     learned NuVasive Confidential Information.” (Exhibit 12, § 5.5).




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     restrictive covenant, titled “Non-Solicitation,” bars them from, directly or indirectly,

     soliciting or accepting business from any of Absolute Medical’s customers or prospective

     customers. (Id. at § 5.6).

             Section 5.8 of the 2016 Compliance Agreements contain Hawley’s and Miller’s

     acknowledgements that the restrictions contained in Section 5 are reasonable and necessary

     to protect Absolute Medical’s business, confidential information, and the goodwill they

     would develop on its behalf. (Id. at § 5.8). Accordingly, they agreed that, in the event they

     breached any of the restrictive covenants, Absolute Medical could obtain injunctive relief,

     “specific performance, and an equitable accounting of, and constructive trust for, all profits

     or other benefits arising out of or related to any such violation.” (Id.)

             Section 8.9 of the 2016 Compliance Agreements provides that the prevailing party in

     an action to enforce one or more of the 2016 Compliance Agreements’ provisions is entitled

     to recover the attorneys’ fees and costs in incurred in the action. (Id. at § 8.9). And Section

     8.11 names NuVasive as a third-party beneficiary of the 2016 Compliance Agreements. (Id.

     at § 8.11).11

          B. Hawley and Miller began competing with NuVasive prior to January 1, 2018,
             and have not stopped doing so.

             Hawley and Miller testified that they intended to honor the obligations imposed on

     them by the 2016 Compliance Agreements. (Exhibit 14, 37:3–38:1, 139:2–9; Exhibit 13,

     46:22–47:7; 55:12–24). Nevertheless, despite being contractually precluded from doing so,

     they began competing directly with NuVasive in their established sales territories in early


     11
       NuVasive notes that the 2016 Compliance Agreements contain scrivener’s errors identifying two sections as
     “Section 8.11.” NuVasive is referencing the second Section 8.11, which is titled “Third Party Beneficiary.”




                                                           8
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     December 2017, and have not stopped doing so. (Exhibit 14, 9:13–21, 36:1–8, 54:18–56:8,

     139:25–141:18, 142:15–17, Ex. 6; Exhibit 13, 43:2–4, 85:7–17, 87:11–89:1, 94:1–96:21,

     236:3–13). More specifically, Hawley and Miller resigned from Absolute Medical (without

     giving notice) on November 30, 2017, signed contracts with Alphatec that became effective

     on December 1, 2017, and immediately began converting NuVasive’s customers to Alphatec

     and other competitive companies. (Exhibit 14, 10:12–11:15 50:1–24, 52:20–53:2 Ex. 4, Ex.

     5; Exhibit 13, 15:7–11; 65:7–66:23, 73:2–74:9, 87:11–22, Ex. 5).12                        Their impact on

     Alphatec’s (and NuVasive’s) business was dramatic as both Hawley and Miller won

     Alphatec competitions rewarding the sales representatives with the most sales to new

     customers. (Exhibit 1, 17:15–18:24). Indeed, Absolute Medical Systems reported that

     Hawley’s and Miller’s former NuVasive surgeon-customers, whom they immediately

     converted to Alphatec, were “new surgeon users” in its 2018 Q1 Quarterly Business Review

     that it presented to Alphatec. (Id. at 212:7-12, 213:14-20, Ex. 75 at p. 3).

             Dr. Paul Sawin – Absolute Medical’s (and Hawley’s) largest surgeon-customer –

     utilized NuVasive’s products almost exclusively for several years prior to December 5, 2017.

     (Exhibit 14, 9:11–21; Dep. Absol. Med., attached as Exhibit 16, 62:14–18, 63:23–64:1).

     Though he had not utilized Alphatec’s products prior to that date, Hawley immediately

     converted Dr. Sawin’s business to Alphatec, and they celebrated over drinks with Soufleris
     12
        In addition to Alphatec, Hawley and Miller sold competitive products designed, manufactured, and
     distributed by NovaBone, Ulrich Spine, Spine Wave, Orthofix, Osseous, Pan Medical, Life Spine, and K2M.
     (Exhibit 1, 102:13–107:19; Exhibit 14, 54:9–15, 85:21–86:7, 98:2–11, 98:17–99:12, 101:1–107:6; Exhibit 13,
     160:16–191:15). They did so through contacts between those companies and companies owned and controlled
     by Soufleris (including Defendant Absolute Medical Systems, LLC (“Absolute Medical Systems”) for
     Orthofix), though they claim to have received no compensation for their efforts until January 1, 2019. (Exhibit
     1, 109:4–110:5, 129:11–130:8; Exhibit 14, 86:2–7, 99:16–100:4, 107:7–109:2, 112:20–24, 114:3–115:18,
     121:17–123:1, 147:22–148:18; Exhibit 13, 177:22–178:13, 191:5–15; Dep. Absol. Med. Sys., attached as
     Exhibit 15, 61:4–13).




                                                             9
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     that evening. (Exhibit 1, 145:3-24). Alphatec flew to Orlando to celebrate converting Dr.

     Sawin’s business a business dinner two days later attended by its Chief Executive Officer

     (Pat Miles), its General Counsel (Craig Hunsaker), Hawley, Soufleris, and Dr. Sawin. (Id. at

     68:6–9, 113:7–14, 143:7–9; 167:12–20, 228:14–21; Exhibit 14, 90:20–24; 162:9–24).13

              Following the conversion of Dr. Sawin’s business, Hawley consistently worked,

     without any interruption, on Alphatec’s behalf. (Exhibit 14, 55:2–8). In total, Hawley sold

     at least $106,807.50 of Alphatec’s products to Dr. Sawin and Dr. Rosen (another of his

     former NuVasive customers) in December 2017 alone, which consisted of the following

     surgeries:

                 December 5, 2017, to Dr. Sawin in the amount of $12,900;

                 December 5, 2017, to Dr. Sawin in the amount of $8,228;

                 December 5, 2017, to Dr. Sawin in the amount of $7,134;

                 December 6, 2017, to Dr. Sawin in the amount of $5,656;

                 December 12, 2017, to Dr. Sawin in the amount of $4,518;

                 December 12, 2017, to Dr. Sawin in the amount of $5,656;

                 December 12, 2017, to Dr. Sawin in the amount of $8,000;

                 December 13, 2017, to Dr. Sawin in the amount of $4,518;

                 December 13, 2017, to Dr. Sawin in the amount of $14,217.50;

                 December 18, 2017, to Dr. Rosen in the amount of $2,700;


     13
       Eliminating any doubt that this meal was a business dinner, publically available records indicate that Alphatec
     picked up the tab, reporting it as a payment to Dr. Sawin. Open Payments Data, CENTERS FOR MEDICARE &
     MEDICAID SERVICES, https://openpaymentsdata.cms.gov/physician/138647/general-payments (last visited
     October 13, 2019). This Open Payments Data shows a payment by Alphatec Spine, Inc. on December 7, 2017—
     the date of the dinner—for “Food and Beverage” in the amount of $312.52, Dr. Sawin’s portion of the meal. Id.




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                    December 19, 2017, to Dr. Sawin in the amount of $8,228;

                    December 19, 2017, to Dr. Sawin in the amount of $4,262;

                    December 20, 2017, to Dr. Sawin in an undisclosed amount;

                    December 20, 2017, to Dr. Sawin in the amount of $10,250;

                    December 22, 2017, to Dr. Sawin in the amount of $2,940; and

                    December 22, 2017, to Dr. Sawin in the amount of $7,600.

     (Id. at 54:18–55:23; Charge Sheets, attached as collective Exhibit 17).                           He then sold

     $405,414 and $16,650 of Alphatec’s competitive products to Drs. Sawin and Rosen,

     respectively, in the first quarter of 2018. (Exhibit 1, 214:15–17, Ex. 75 at p. 3). Absolute

     Medical Systems now values Dr. Sawin’s business at between $1.9 and $2 million per year

     and Dr. Rosen’s business at $400,000 per year. (Exhibit 15, 81:9–17, 82:3–4).14

                It does not appear that Miller made any December 2017 sales of Alphatec’s products

     because of issues getting those products and pricing approved at his accounts. That said, in

     December 2017, he assisted with obtaining pricing approval at his accounts and promoted

     Alphatec’s products to his surgeon-customers, ultimately leading to Drs. Burry, Rodas, and

     Allende moving the bulk of their business from NuVasive to Alphatec.15 (Exhibit 13, 20:7–

     22, 88:18–89:1, 91:4–93:21, 96:4–20, 103:21–104:16, 142:17–143:8, 199:2–200:24, 218:14–

     220:22, 221:18–223:10). Indeed, when asked if Drs. Burry, Rodas, and Allende moved their

     business from NuVasive because he is a good sales person, Miller responded “I hope so” and
     14
        Absolute Medical Systems values the business of Dr. Gandhi (another one of Hawley’s former NuVasive
     customers) at $200,000 per year. (Exhibit 15, 82:1–2; Exhibit 14, 20:20–22, 40:5:10 (Hawley testifying that
     Dr. Gandhi is within his Alphatec sales territory and that he previously solicited his business for NuVasive by
     traveling with him to NuVasive’s headquarters in San Diego for training)).
     15
          Soufleris helped Miller solicit Dr. Burry by hosting a business dinner. (Exhibit 15, 65:19–66:14).




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     admitted that they would use whichever products he requested. (Id. at 92:16–93:3). After

     working on Alphatec’s behalf to get pricing approved at his accounts in December 2017,

     Miller then sold $24,155, $22,665, and $11,370 of Alphatec’s competitive products to Drs.

     Burry, Rodas, and Allende, respectively, in the first quarter of 2018. (Exhibit 1, Ex. 75 at p.

     3). Absolute Medical Systems now values the total business of these three surgeons between

     $550,000 and $650,000 annually. (Exhibit 15, 82:5–10).16

                     STANDARD FOR GRANTING SUMMARY JUDGMENT

             Federal Rule of Civil Procedure 56 directs a court to “grant summary judgment if the

     movant shows that there is no genuine dispute as to any material fact and the movant is

     entitled to judgment as a matter of law.” Fed. R. Civ. Pro. 56(a). A dispute is genuine “if the

     evidence is such that a reasonable jury could return a verdict for the nonmoving party.”

     Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). Additionally, a fact is only

     material if it may “affect the outcome of the suit under the governing law.” Id.

             Once a movant puts forward a “properly supported motion for summary judgment,

     [the nonmoving party] must come forward with specific factual evidence, presenting more

     than mere allegations.” Gargiulo v. G.M. Sales, Inc., 131 F.3d 995, 999 (11th Cir. 1997).

     Stated another way, summary judgment may be granted if the non-moving party’s evidence

     is “merely colorable” or “is not significantly probative.”       Anderson, 477 U.S. at 249–50. A

     nonmoving party cannot defeat a motion for summary judgment based upon a nonmoving

     party’s “suspicion, perception, opinion, and belief.” Laroche v. Denny’s Inc., 62 F. Supp. 2d

     1366, 1371 (S.D. Fla. 1999).

     16
       NuVasive notes this transcript excerpt incorrectly identifies Drs. Allende and Rodas as “Hyundai” and
     “Rose.”




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            The inquiry at the center of a summary judgment motion “‘is whether the evidence

     presents a sufficient disagreement to require submission to a jury or whether it is so one-

     sided that one party must prevail as a matter of law.’” Dadeland Depot, Inc. v. St. Paul Fire

     & Marine Ins. Co., 483 F.3d 1265, 1273 (11th Cir. 2007) (quoting Anderson, 477 U.S. at

     251–52). In doing so, a court “construes the facts and all reasonable inferences . . . in the

     light most favorable to the nonmoving party.” FTC v. Life Mgmt. Servs., 350 F. Supp. 3d

     1246, 1256 (M.D. Fla. 2018) (quoting Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S.

     133, 150 (2000)). “A judge’s function is not himself to weigh the evidence and determine

     the truth of the matter but to determine whether there is a genuine issue for trial.” Anderson,

     477 U.S. at 249.

            IT IS UNDISPUTED THAT HAWLEY AND MILLER VIOLATED THE
                RESTRICTIVE COVENANTS IN THEIR 2016 AGREEMENTS

            It is undisputed that Hawley and Miller violated the restrictive covenants in their

     2016 Compliance Agreements. Frankly, NuVasive does not believe Defendants’ claims that

     Hawley and Miller failed to sign the 2017 Compliance Agreements. That said, even if,

     assuming arguendo, they did not sign their 2017 Compliance Agreements, there is no dispute

     that the 2016 Compliance Agreements are enforceable and that they failed to comply with

     Sections 5.4 through 5.6 by selling competitive products (without interruption) from

     December 2017 to the present. Indeed, they testified that they acted as though they were not

     subject to any restrictive covenants as soon as they left NuVasive and joined Alphatec on

     December 1, 2017. (E.g., Exhibit 13, 42:16–23).

        A. The restrictive covenants comply with Florida law and are enforceable.




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            First, the applicable restrictive covenants in the 2016 Compliance Agreements

     comply with Section 542.335, Florida Statutes, and are enforceable.          Indeed, the 2016

     Compliance Agreements are writings signed by Hawley and Miller, the restrictive covenants

     are justified by several legitimate business interests as defined by Section 542.335(1)(b), the

     restraints are reasonably necessary to protect those business interests, and the temporal

     restrictions are appropriate.

            1. The 2016 Compliance Agreements are writings signed by Hawley and Miller.

            The 2016 Compliance Agreements comply with Section 542.335(1)(a)’s requirement

     that they be in writing and signed by the person against whom enforcement is sought.

     Indeed, Hawley and Miller acknowledge signing the 2016 Compliance Agreements which

     binds both their single-member limited liability companies and themselves to non-solicitation

     and non-employment restrictions. (Exhibit 14, 37:3–12; Exhibit 13, 45:14–18, 46:21–47:7).

            2. The 2016 Compliance Agreements’ restrictive covenants are justified by
               multiple legitimate business interests.

            The 2016 Compliance Agreements’ restrictive covenants comply with Section

     542.335(b)’s requirement that there is a legitimate business interest which supports their

     existence. Specifically included in Section 542.335(b)’s non-exclusive list of legitimate

     business interests are trade secrets, valuable confidential business or professional information

     that does not qualify as trade secrets, substantial relationships with specific or existing

     customers, and extraordinary or specialized training. Here, the record contains significant

     proof about the trade secrets and other confidential information NuVasive entrusted to

     Hawley and Miller, as well as the specialized training it provided to them. Further, even




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     Hawley and Miller cannot dispute that their substantial relationships with their existing

     customers justifies reasonable restrictions.17

             Sections 5.1 and 5.3 of the 2016 Compliance Agreements contain Hawley’s and

     Miller’s promises to maintain the secrecy of NuVasive’s confidential information, and

     included in Section 5.2’s non-exhaustive list of confidential information is trade secrets,

     contacts, proposals, pricing information, strategies, inventions, business and marketing plans,

     and materials that NuVasive furnishes to them. (Exhibit 12 at §§ 5.1–5.3). Hawley and

     Miller both testified that they take no issue with any of the 2016 Compliance Agreements’

     provisions. (Exhibit 14, 37:20–22; Exhibit 13, 47:6–7). And their actions demonstrate that

     they actually possessed this confidential information. For example, Hawley testified that he

     worked on pipeline products—which he conceded were confidential—with NuVasive, while

     Miller utilized his knowledge of NuVasive’s pricing at Central Florida Regional Hospital to

     create a chart he presented to a hospital administrator demonstrating savings the hospital

     would purportedly realize by allowing surgeons to utilize Alphatec’s products rather than

     NuVasive’s. (Exhibit 14, 13:4–11, 36:9–20; Exhibit 13, 198:24–199:14, Ex. 43).

             Similarly, Hawley and Miller received specialized training from NuVasive. Both

     acknowledge receiving training at the outset of their NuVasive engagements and continuing

     training at sales meetings. (Exhibit 14, 39:3–13; Exhibit 13, 49:1–50:8; June 28, 2018, Tr.

     Hr’g Prelim. Inj., Doc. 79, 106:7–23; Exhibit 16, 14:19–15:21). Most notably, Hawley and

     17
        In fact, when asked why Drs. Burry, Rodas, and Allende would use Alphatec’s products at his suggestion,
     Miller testified, “I mean, I had spent the majority of my life, almost a decade, with those guys.” (Exhibit 13,
     92:23–24). The “almost a decade” Miller refers to is his NuVasive career since he had no previous experience
     in the spinal marketplace. (Exhibit 13, 34:19–35:18, 38:6–13). As such, Miller is conceding that he developed
     these relationships on NuVasive’s behalf and then utilized them to immediately convert their business to
     Alphatec.




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     Miller are XLIF Certified.18 (Exhibit 16, 16:3–24). The value of the XLIF Certification

     NuVasive provided to Hawley and Miller cannot be overstated as it provides them with a

     competitive edge in the marketplace related to lateral approach surgery along with a deep

     understanding of the complex anatomy, integrated technologies, and procedural

     sophistication associated with this type surgery. (Exhibit 18, ¶ 7). As a result of receiving

     XLIF Certification, Hawley and Miller possess superior knowledge and clinical skills relative

     to lateral approach surgery than those of NuVasive’s competitors. (Id.) None of NuVasive’s

     competitors, including Alphatec, provide their sales force with a training program focused on

     lateral approach surgery that is as comprehensive and specialized as the XLIF Certification

     Hawley and Miller received. (Id. at ¶ 8). In essence, Alphatec is now reaping the benefits of

     Hawley’s and Miller’s superior knowledge and clinical skills that NuVasive expended

     significant time and expense developing. (Id. at ¶ 9).

              Finally, and perhaps most importantly, the relationships that Hawley and Miller have

     with their surgeon-customers and the goodwill they generate with those surgeon-customers

     justify the 2016 Compliance Agreements’ restrictive covenants. Indeed, they place such a

     high value on their relationships with their surgeon-customers that they agreed to sell non-

     Alphatec products to them without being compensated just to keep competitive sales

     representatives out of their surgeon-customers’ operating rooms.                       (Exhibit 14, 147:22–


     18
        NuVasive’s eXtreme Lateral Interbody Fusion (“XLIF”) Certification program is an innovative, market-
     leading training program that was implemented in 2010 that NuVasive makes available to its sales associates
     and spine specialists who complete “spine school.” (Decl. P. Marzano, attached as Exhibit 18, ¶¶ 3–5). In
     order to receive XLIF Certification, the sales associate or representative must travel to San Diego, California (or
     formerly Paramus, New Jersey), and successfully complete a rigorous operating room examination consisting of
     several hundred points that encompass all aspects of the XLIF procedure. (Id. at ¶ 6). The examination
     requires the individual to correctly identify and explain all technical aspects and indicators involved in the XLIF
     procedure. (Id.)




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     148:10; Exhibit 13, 117:19–118:5). Miller even testified that keeping competitors like

     NuVasive out of the operating rooms is “priceless.” (Exhibit 13, 117:19–118:5). These

     relationships paid off as, for example, Dr. Sawin went from being a nearly exclusive user of

     NuVasive’s products to a surgeon who utilized a number of company’s products with the

     common denominator being that Hawley represented the products. (Exhibit 14, 9:11–21).

     Similarly, Miller acknowledged that his skill as a sales person caused Drs. Allende, Burry,

     and Rosen to stop utilizing NuVasive’s products and begin utilizing those products he

     promoted. (Exhibit 13, 92:16–93:3).

             3. The 2016 Compliance Agreements’ restrictive covenants are reasonably
                necessary to protect NuVasive’s legitimate business interests justifying their
                existence.

             Next, neither Hawley nor Miller can dispute that the restrictions in the 2016

     Compliance Agreements are not reasonably tailored to the legitimate business interests they

     protect as required by Section 542.335(c). The non-circumvention clause found in Section

     5.4 limits them only from interfering with Absolute Medical’s relationships with its vendors,

     suppliers (including NuVasive), employees, and Customers; the non-competition provision

     found in Section 5.5 precludes Hawley and Miller only from selling products that compete

     with the NuVasive products they sold to their surgeon-customers in the territories Absolute

     Medical assigned to them and the other hospitals in which they worked on Absolute

     Medical’s behalf during the preceding year; and the non-solicitation provision found in

     Section 5.6 is limited to Absolute Medical’s Customers or prospective Customers.19

     19
       Soufleris testified that in November 2017, Absolute Medical’s only significant customers were Drs. Sawin,
     Burry, Rodas, Allende, and Rosen. (Exhibit 1, 91:13–92:19). As there are approximately thirty spine surgeons
     (whom Soufleris acknowledges Absolute Medical chose not to focus on) in Orlando, this restriction is not
     overly oppressive. (Id. at 93:18–24).




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     (Exhibit 12 at §§ 5.5–5.6). Also, Section 5.7 allows for any of the restrictive covenants to be

     blue-penciled if they are deemed to be unreasonable. (Id. at § 5.7). Respectfully, these

     restrictions are well in-line with those upheld by Florida’s courts. Proudfoot Consulting Co.

     v. Gordon, 576 F.3d 1223, 1231 (11th Cir. 2009) (affirming the trial court’s decision that the

     geographic area of the restrictive covenant was not overbroad, even though it encompassed

     all of Canada and the United States, where the evidence showed that the former employee’s

     territory encompassed all of Canada and the United States); Litwinczuk v. Palm Beach

     Cardiovascular Clinic, L.C., 939 So. 2d 268, 273 (Fla. 4th DCA 2006) (affirming the

     reduction of the geographic scope of the restrictive covenant to the area from which the

     former employer drew its patients, including those seen by the former employee);

     Electrostim Med. Servs. v. Dawn Lindsey & Zynex Med., Inc., No. 8:11-cv-2467-T-33TBM,

     2012 WL 1405707, at *12 (M.D. Fla. Mar. 13, 2012) (finding that the geographic limitation

     of a restrictive covenant is reasonable when it is limited to the defendant’s former territory);

     Milner Voice & Data, Inc. v. Tassy, 377 F. Supp. 2d 1209, 1217 (S.D. Fla. 2005) (holding

     that a non-competition covenant limited to the area in which the former employee conducted

     work for the former employer for the past two years was “reasonable in time, area, and line

     of business”).

        4. The 2016 Compliance Agreements’ temporal restrictions are appropriate.

            Finally, the one-year temporal restrictions found in the 2016 Compliance

     Agreements’ restrictive covenants comport with Florida law. It is an entire year shorter than

     what would be presumed to be unreasonable under Section 542.335(d)(1), and Florida courts

     routinely uphold one-year restrictive covenants for salespersons. See, e.g., Osbourne Assocs.




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     v. Cangemi, No. 3:17-cv-1135-J-34MCR, 2017 WL 5443146 (M.D. Fla. Nov. 14, 2017)

     (granting one-year preliminary injunction against former employee charged with maintaining

     customer relationships).

        B. Hawley and Miller violated the restrictive covenants in the 2016 Compliance
           Agreements.

            There is also no dispute that Hawley and Miller violated and continue to violate the

     2016 Compliance Agreement’s restrictive covenants.       They admit—in their discovery

     responses and deposition testimony—that they began working for Alphatec and other

     competitive companies in their NuVasive sales territories in early December 2017,

     approximately a month before those restrictive covenants expired, and that they have

     continued doing so ever since. (Exhibit 14, 9:13–21, 36:1–8, 54:18–56:8, 139:25–141:18,

     142:15–17, Ex. 6; Exhibit 13, 43:2–4, 85:7–17, 87:11–89:1, 94:1–96:21, 236:3–13).

        C. Hawley and Miller impermissibly benefited from their breaches of the 2016
           Compliance Agreements’ restrictive covenants, which harmed NuVasive.

            There is also no dispute that Hawley’s and Miller’s breaches of their restrictive

     covenants harmed NuVasive. Miller bragged that he converted the business of Drs. Allende,

     Burry, and Rosen because he is a good salesperson, and Hawley acknowledged how Dr.

     Sawin went from exclusively using NuVasive’s products for several years to only using one

     product on rare occasions less than a week after he resigned from Absolute Medical.

     (Exhibit 13, 92:16–93:3; Exhibit 14, 9:11–21). Further, there is no dispute that Hawley and

     Miller impermissibly benefited from their violations of their 2016 Compliance Agreements

     as Alphatec paid Hawley and Miller $500,000 and $150,000, respectively, to violate their

     obligations during the first twelve months of their Alphatec engagements. (Exhibit 14,




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     144:14–21; Exhibit 13, Ex. 6 at Ex. C). Accordingly, NuVasive is entitled to recover the

     profits it lost as a result of these breaches and disgorge any profits Hawley and Miller earned

     as a result of their breaches pursuant to Section 5.8 of the 2016 Compliance Agreements.

     (Exhibit 12, § 5.8).

        D. The Court should toll the temporal terms of the 2016 Agreements’ restrictive
           covenants.

            As the restrictive covenants contained in Hawley’s and Miller’s 2016 Compliance

     Agreements are reasonable, and they violated their respective restrictive covenants, the Court

     should extend the expiration of those agreements to ensure that NuVasive receives the

     agreed-upon twelve complete months of non-competition. In other words, the Court should

     enjoin Hawley and Miller from competing with NuVasive in their NuVasive sales territories

     for one month.

            Under Florida law, when a party does not comply with the terms of an enforceable

     restrictive covenant a court may extend the duration of a restrictive covenant beyond the time

     specified in an agreement to ensure that the contracting party receives the entire benefit of

     the restrictive covenant. Capelouto v. Orkin Exterminating Co., 183 So. 2d 532, 534–35

     (Fla. 1966) (extending the restrictive period beyond the time specified under the contract,

     because the individual participated in the prohibited activities during the course of the

     litigation); Kverne v. Rollins Protective Servs. Co., 515 So. 2d 1320, 1321–22 (Fla. 3d DCA

     1987) (stating that the defendant is entitled to the full duration of the time specified under the

     non-competition agreement, and extending the duration because the plaintiff participated in

     the prohibited activities during the course of the litigation); Intermex Wire Transfer v. V.,

     2014 Fla. Cir. LEXIS 29206, at *14 (Fla. Cir. October 1, 2014) (extending the term of the



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     restrictive covenant for 5 months from the date of the order issuing an injunction, because

     defendants participated in prohibited activities during the course of the litigation).

            Here, there is no dispute that Hawley and Miller began working for Alphatec in

     December 2017 (prior to the expiration of the 2016 Compliance Agreement’s restrictive

     covenants) and have continued to do so since that time. (Exhibit 14, 9:13–21, 36:1–8,

     54:18–56:8, 139:25–141:18, 142:15–17, Ex. 6; Exhibit 13, 43:2–4, 85:7–17, 87:11–89:1,

     94:1–96:21, 236:3–13). As such, Hawley’s and Miller’s restrictive covenants should be

     extended as in Kverne because to hold otherwise would “ignore” their improper actions

     undertaken throughout this litigation. 515 So. 2d at 1322 (quoting Capelouto, 183 So. 2d at

     534-35). Accordingly, the Court should extend the expiration of their restrictive covenants

     and enjoin them from competing with NuVasive in their former NuVasive sales territories for

     one month, award NuVasive the damages it incurred during their periods of noncompliance,

     and disgorge the profits they earned during those periods.

                                             CONCLUSION

            In sum, it is undisputed that:

               Hawley and Miller owed Absolute Medical the reasonable non-circumvention,
                non-competition, and non-solicitation obligations contained in their 2016
                Compliance Agreements;

               NuVasive is an express, third-party beneficiary to the 2016 Compliance
                Agreements; and

               Hawley and Miller immediately began breaching their restrictive covenants in
                December 2017, and have continued to do so, without interruption.

     Accordingly, the Court should grant NuVasive’s motion for partial summary judgment, toll

     the expiration of the 2016 Compliance Agreements during Hawley’s and Miller’s periods of




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     non-compliance and enjoin Hawley and Miller from competitive behavior during that time,

     award NuVasive the damages it incurred as a result of that non-compliance, including

     NuVasive’s attorneys’ fees, and, after an accounting, impose a constructive trust upon the

     profits Hawley and Miller reaped for their contractual violations.

     Dated: October 15, 2019

                                                  Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

             I hereby certify that on October 15, 2019, a copy of the foregoing was filed
     electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
     system to all parties indicated on the electronic filing receipt. All other parties will be served
     by regular U.S. Mail. Parties may access this filing through the Court’s electronic filing
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